22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 1 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 2 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 3 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 4 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 5 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 6 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 7 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 8 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 9 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 10 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 11 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 12 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 13 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 14 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 15 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 16 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 17 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 18 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 19 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 20 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 21 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 22 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 23 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 24 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 25 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 26 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 27 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 28 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 29 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 30 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 31 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 32 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 33 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 34 of 35
22-10425-mg   Doc 1   Filed 04/04/22 Entered 04/04/22 17:17:10   Main Document
                                   Pg 35 of 35
